
THE superior court of Chancery, holden at the Capitol in the city of Richmond, the 29th June, 1814, made the following entry on its records. “ The court doubting “ whether the clerk thereof, whose commission bears date “ the first day of August, 1810, holds his office by the “ tenure of good behaviour, or at the pleasure of the court, a doth respectfully submit the decision of the law thereupon, to the honourable the general court.”
At a general court, held November 12th, 1814, prevent judges White, Carrington, Holmes, Brockenbrouglu Semple, Smith, Allen, Randolph and Dade, the following entry was made. “ It is the unanimous opinion of this “ court, that the matter of doubt submitted by the said “ superior court of chancery to the decision of this court, “ does not come within the intent and meaning of that “ section of the ‘ act reducing into one the several acts “ concerning the high court of chancery,’ which autho- “ rizes that court to send any matter of law ‘ to the gene- “ ral court, for their opinion to be certified thereon.' *325‘‘ and that therefore this court ought not to express any “ opinion on the subject.”
See 1st Rev. Code, p. 64, sect. 11th.
